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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


TERESA PATTERSON                              )
                                              )
                                              )
               Plaintiff,                     )
                                              )      Case No.: 2:18-cv-00611-SRW
v.                                            )
                                              )
PUBLIX SUPER MARKETS, INC.;                   )
NESTLE USA, INC.;                             )
NESTLE DREYER’S USA, INC.                     )
                                              )
               Defendants.                    )


                               FIRST AMENDED COMPLAINT

                                       INTRODUCTION


       Plaintiff files her First Amended Complaint to correctly name as a Defendant Nestle

Dreyer’s Ice Cream Company (“Nestle Dreyer’s) in place of Nestle USA, Inc. (“Nestle”) for

damages and injuries related to a slip-and-fall accident that occurred on or about July 5, 2016. The

only change in this Amended Complaint is to amend to name as party defendant Nestle Dreyer’s

Ice Cream Company in place of Nestle USA, Inc.

                                            PARTIES


       1.      Plaintiff is an individual resident of Montgomery, Montgomery County, Alabama.

       2.      On information and belief, Defendant Publix is a foreign corporation operating

retail grocery stores in Alabama at the time of the accident on July 5, 2016.

       3.      On information and belief, Defendant Nestle Dreyer’s Ice Cream Company (Nestle

Dreyer’s) is a foreign Corporation operating directly or by agent in Alabama at the time of the
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accident on July 5, 2016.



                                 JURISDICTION AND VENUE

       4.      Plaintiff is a citizen of Alabama, residing at 1831 James Avenue, Montgomery,

Montgomery County, Alabama.

       5.      Defendant Publix is a foreign corporation with its primary place of business in

Lakeland, Florida.

       6.      Defendant Nestle Dreyer’s is a foreign corporation doing business in Alabama on

or about July 5, 2016.

       7.      Based upon the preceding, diversity of citizenship exists, as required by 28 U.S.C.

§§ 1332(a)(1), (d)(2)(A).

       8.      Venue in this judicial district is proper pursuant to 28 U.S.C. §1391(a) because, as

set forth below, Defendant conducts business in, and may be found in, this district, and the incident

which forms the basis of this action occurred in this judicial district.

                                               FACTS

       9.      On or about July 5, 2016, Plaintiff Teresa Patterson was an invitee at Publix #1025

located at 4045 Atlanta Highway, Montgomery, Alabama.

       10.     On or about July 5, 2016, the Plaintiff slipped and fell due to a slippery substance

on the floor at Publix and was seriously injured.

                                           COUNT ONE

       11.     The Plaintiff reavers all facts referenced in the foregoing paragraphs as if fully

restated herein.

       12.     The Plaintiff’s fall was the proximate result of the Defendant Publix’s negligence

and/or wantonness, in that said Defendant caused or allowed a slippery substance to exist upon the
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floor of its store, and should have known through ordinary care of the existence of that substance,

but failed to properly identify and remove that slippery substance.

       13.     Said premises were under the care and charge of Defendant Publix.

       14.     Defendant caused and/or allowed said slippery substance on the floor to remain in

place regardless of the danger it posed for injury to the public, including the Plaintiff.

       15.     Plaintiff’s fall was the proximate result of the Defendant’s negligence and/or

wantonness, in that said Defendant:

               A.      Failed to provide adequate warning and/or mitigate the potential danger to

                       the public;

               B.      Failed to provide adequate equipment and/or protective devices if they

                       could not remove the dangerous condition;

               C.      Caused to occur and/or failed to remove, abate or mitigate a hazardous

                       condition as evidence may show.

       16.     Defendant Publix knew or should have known of said dangerous condition.

       17.     At all times pertinent, the Defendant owed a duty to the public to keep the premises

in a reasonably safe condition, and, if premises are unsafe, to warn of hidden defects and dangers

that are known to Defendant but that are hidden or unknown to the public.

       18.     As a proximate result of the Defendant’s said negligence and/or wantonness, the

Plaintiff, Teresa Patterson, was caused to suffer right knee and back injuries, pain, suffering, and

mental anguish.

       19.     The capacity of the Plaintiff to enjoy life and participate in social and physical

activities in which she previously engaged was reduced immediately following the accident and

may be permanently reduced.



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        20.     The Plaintiff was caused to incur medical bills and other expenses due to her

injuries.

        WHEREFORE, the Plaintiff, Teresa Patterson, demands judgment against Defendant

Publix for compensatory and punitive damages in an amount exceeding $75,000.00 as deemed

appropriate by the jury, plus interest and Court costs.

                                              COUNT II


        21.     The Plaintiff reavers all facts referenced in the foregoing paragraphs as if fully

restated herein.

        22.     The Plaintiff’s fall was the proximate result of Defendant Nestle Dreyer’s

negligence and/or wantonness, in that said Defendant’s agent or employee, while delivering goods

to Publix, caused or allowed a slippery substance to occur on the floor of Defendant Publix’s store.

        23.     Said slippery substance was a proximate cause of the Plaintiff’s fall, injuries and

damages.

        24.     Defendant Nestle Dreyer’s knew or should have known through reasonable care

that causing or allowing a slippery substance to occur on the floor of a Publix store was likely to

cause serious injury.

        25.     Defendant caused and/or allowed said slippery substance on the floor to occur and

remain in place regardless of the danger it posed for injury to the public, including the Plaintiff.

        26.     Plaintiff’s fall was the proximate result of the Defendant Nestlé’s negligence and/or

wantonness, in that said Defendant:

                A. Caused a slippery substance to occur on the floor of Defendant Publix’s store;

                B. Failed to provide adequate warning and/or mitigate the potential danger of said

                   substance to the public;


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                C. Failed to remove, abate or mitigate a hazardous condition as evidence may

                   show.

        27.     As a proximate result of the Defendant’s said negligence and/or wantonness, the

Plaintiff Teresa Patterson, was caused to suffer right knee and back injuries, pain, suffering, and

mental anguish.

        28.     The capacity of the Plaintiff to enjoy life and participate in social and physical

activities in which she previously engaged was reduced immediately following the accident and

may be permanently reduced.

        29.     The Plaintiff was caused to incur medical bills and other expenses due to her

injuries.

        WHEREFORE, the Plaintiff, Teresa Patterson, demands judgment against Defendant

Publix for compensatory and punitive damages in an amount exceeding $75,000.00 as deemed

appropriate by the jury, plus interest and Court costs.

                                            COUNT III

        30.     The Plaintiff reavers all facts referenced in the foregoing paragraphs as if fully

restated herein.


        31.     The negligence and/or wantonness of Defendant Nestle Dreyer’s and Defendant

Publix combined and concurred to proximately cause the previously described injuries and

damages of the Plaintiff.


        WHEREFORE, the Plaintiff, Teresa Patterson demands judgment jointly and severally

against Defendants Publix and Nestle Dreyer’s for compensatory and punitive damages in an

amount exceeding $75,000.00 as deemed appropriate by the jury, plus interest and Court costs.



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      PLAINTIFF DEMANDS TRIAL BY STRUCK JURY AS TO ALL COUNTS



                                            /s/ Michael L. White
                                            MICHAEL L. WHITE (ASB-4263-W86M)
                                            Attorney for Plaintiff

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                               CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document via e-mail on this the
  th
10 day of January, 2019, upon all interested parties.


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                                                    /s/ Michael L. White
                                                    OF COUNSEL




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